            Case 1:18-cv-02921-JMF Document 610 Filed 07/03/19 Page 1 of 2



July 3, 2019

The Honorable Jesse M. Furman
Thurgood Marshall U.S. Courthouse
United States District Court for the Southern District of New York
40 Centre Street, Room 2202
New York, NY 10007

          RE:      Request for immediate status conference in State of New York, et al. v. U.S. Dep’t
                   of Commerce, et al., 18-CV-2921 (JMF).

Dear Judge Furman,

       Plaintiffs write pursuant to this Court’s Rule 1.A to request that the Court schedule an
immediate status conference in this action. On June 27, 2019, the Supreme Court affirmed this
Court’s judgment that Secretary Ross’s decision to add a citizenship question to the 2020
decennial census should be set aside and remanded because it rested on a pretextual basis. Dep’t
of Commerce v. New York, No. 18-966, slip op. 23-29 (June 27, 2019). That day, the
Department’s counsel conceded that this Court’s injunction remained in place. Ex. 1.

        On Monday, July 1, Plaintiffs sought confirmation from Defendants that the census
questionnaire had been finalized without a citizenship question in light of Defendants’ many
representations to this Court and the Supreme Court that “the Census Bureau needs to finalize
the 2020 questionnaire by June of this year.” Ex. 2; Ex. 3. Defendants’ counsel responded that
“the decision has been made to print the 2020 Decennial Census questionnaire without a
citizenship question, and . . . the printer has been instructed to begin the printing process.” Ex. 3.
The Commerce Secretary subsequently issued a statement that “[t]he Census Bureau has started
the process of printing the decennial questionnaires without the question,” and Defendants’
counsel advised Judge Hazel in a status conference yesterday in Kravitz v. U.S. Dep’t of
Commerce, 18-cv-1041 (D. Md.), that the decision to proceed without a citizenship question was
final. Defendants’ counsel expressly affirmed that the Census Bureau would not revisit the issue
after printing the census questionnaires; counsel instead assured Judge Hazel that the decision to
move forward without the citizenship question had been made “once and for all.”

        Today, President Trump tweeted that “News Reports about the Department of Commerce
dropping its quest to put the Citizenship Question on the Census is incorrect or, to state it
differently, FAKE! We are absolutely moving forward, as we must, because of the importance of
the answer to this question.” 1 Because this statement is not consistent with the representations
Defendants’ counsel made to Plaintiffs and a federal court yesterday, and because proceeding
with a citizenship question at this point would violate this Court’s injunction—which the Court
retains jurisdiction to enforce—Plaintiffs request an immediate status conference so the Court
and the parties can determine Defendants’ current position and whether any emergency relief is
needed.

                                            Respectfully submitted,

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    See https://twitter.com/realDonaldTrump/status/1146435093491277824.


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       Case 1:18-cv-02921-JMF Document 610 Filed 07/03/19 Page 2 of 2




                                   LETITIA JAMES
                                   Attorney General of the State of New York

                                   By: /s/ Matthew Colangelo
                                   Matthew Colangelo, Chief Counsel for Federal Initiatives
                                   Elena Goldstein, Acting Bureau Chief, Civil Rights Bureau
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                                   Attorneys for the State of New York Plaintiffs


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                                   By: /s/ John A. Freedman


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49(c)(3).

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                                              2
Case 1:18-cv-02921-JMF Document 610-1 Filed 07/03/19 Page 1 of 3




                 Exhibit 1
                Case 1:18-cv-02921-JMF Document 610-1 Filed 07/03/19 Page 2 of 3




From: Gardner, Joshua E (CIV) <Joshua.E.Gardner@usdoj.gov>
Sent: Thursday, June 27, 2019 2:59 PM
To: Duraiswamy, Shankar <sduraiswamy@cov.com>; Ehrlich, Stephen (CIV) <Stephen.Ehrlich@usdoj.gov>
Cc: Duke, Benjamin <pbduke@cov.com>; Cho, Dustin <dcho@cov.com>; Denise M. Hulett <Dhulett@MALDEF.org>;
Niyati Shah <nshah@advancingjustice‐aajc.org>
Subject: RE: Kravitz / LUPE

Shankar:

Thank you for your email. We agree that a meet and confer about discovery on the equal protection claim before
today’s court conference is unnecessary. Given the Supreme Court’s decision today, our view is that the injunctions
in both New York and this case are still in place, and we have no plans to challenge them or seek to have them
vacated. Because the Secretary is currently in Japan, and he must be consulted, we cannot yet provide you and the
Court with our definitive view about future proceedings, if any. We will update you as soon as we have clarity on
that front.

Josh

From: Duraiswamy, Shankar <sduraiswamy@cov.com>
Sent: Thursday, June 27, 2019 2:26 PM
To: Gardner, Joshua E (CIV) <jgardner@CIV.USDOJ.GOV>; Ehrlich, Stephen (CIV) <sehrlich@CIV.USDOJ.GOV>
Cc: Duke, Benjamin <pbduke@cov.com>; Cho, Dustin <dcho@cov.com>; Denise M. Hulett <Dhulett@MALDEF.org>;
Niyati Shah <nshah@advancingjustice‐aajc.org>
Subject: Kravitz / LUPE

Josh and Stephen,

In light of the Supreme Court’s decision today and the government's previous representations as to the June 30 deadline
to begin printing the 2020 Census questionnaires, we presume that the Census Bureau will move forward with printing
the Census questionnaires and conducting the 2020 Census without the citizenship question. Subject to Defendants'
confirmation that our understanding is correct, we do not believe there is a need to meet and confer about discovery on
our equal protection claim prior to the court conference later this afternoon.

Otherwise, we are available to confer with you any time between 3:30 and 5 pm. Below is a rough outline of what we
intend to pursue in discovery.
                                                           1
                Case 1:18-cv-02921-JMF Document 610-1 Filed 07/03/19 Page 3 of 3

       Motion practice to revisit privilege claims
       Initial list of witness depositions:
             o Wilbur Ross
             o James Uthmeier
             o Christa Jones
       Document requests to DOC and DOJ, including:
             o Drafts of the DOJ letter requesting the citizenship question and all communications regarding drafts of
                   the letter
             o Communications and documents regarding use of citizenship data or immigration status for purposes of
                   reapportionment or redistricting
             o Communications with individuals outside the government, including but not limited to Thomas Hofeller,
                   Dale Oldham, Mark Neuman, and John Baker, regarding (1) the actual or potential use of a citizenship
                   question on the decennial census questionnaire, and (2) the use of citizenship data or immigration
                   status for purposes of reapportionment or redistricting
       Initial list of third‐party document and deposition subpoenas:
             o Mark Neuman
             o Dale Oldham
             o John Baker
             o Kris Kobach



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Case 1:18-cv-02921-JMF Document 610-2 Filed 07/03/19 Page 1 of 10




                  Exhibit 2
Case 1:18-cv-02921-JMF Document 610-2 Filed 07/03/19 Page 2 of 10
Case 1:18-cv-02921-JMF Document 610-2 Filed 07/03/19 Page 3 of 10
Case 1:18-cv-02921-JMF Document 610-2 Filed 07/03/19 Page 4 of 10
Case 1:18-cv-02921-JMF Document 610-2 Filed 07/03/19 Page 5 of 10
Case 1:18-cv-02921-JMF Document 610-2 Filed 07/03/19 Page 6 of 10
Case 1:18-cv-02921-JMF Document 610-2 Filed 07/03/19 Page 7 of 10
Case 1:18-cv-02921-JMF Document 610-2 Filed 07/03/19 Page 8 of 10
Case 1:18-cv-02921-JMF Document 610-2 Filed 07/03/19 Page 9 of 10
Case 1:18-cv-02921-JMF Document 610-2 Filed 07/03/19 Page 10 of 10
Case 1:18-cv-02921-JMF Document 610-3 Filed 07/03/19 Page 1 of 3




                 Exhibit 3
                  Case 1:18-cv-02921-JMF Document 610-3 Filed 07/03/19 Page 2 of 3




From:                              Bailey, Kate (CIV) <Kate.Bailey@usdoj.gov>
Sent:                              Tuesday, July 2, 2019 3:56 PM
To:                                Freedman, John A.; Federighi, Carol (CIV); Ehrlich, Stephen (CIV); Coyle, Garrett (CIV);
                                   Wells, Carlotta (CIV); Gardner, Joshua E (CIV)
Cc:                                DHo@aclu.org; Goldstein, Elena; Colangelo, Matthew; SBrannon@aclu.org; Gersch,
                                   David P.
Subject:                           RE: New York et al v. Department of Commerce et al., SDNY 18-cv-2921


Counsel—

We can confirm that the decision has been made to print the 2020 Decennial Census questionnaire without a citizenship
question, and that the printer has been instructed to begin the printing process.

Best,

Kate Bailey
Trial Attorney
United States Department of Justice
Civil Division – Federal Programs Branch
1100 L Street, NW
Washington, D.C. 20005
202.514.9239 | kate.bailey@usdoj.gov



From: Freedman, John A. <John.Freedman@arnoldporter.com>
Sent: Monday, July 01, 2019 3:47 PM
To: Bailey, Kate (CIV) <katbaile@CIV.USDOJ.GOV>; Federighi, Carol (CIV) <CFederig@CIV.USDOJ.GOV>; Ehrlich, Stephen
(CIV) <sehrlich@CIV.USDOJ.GOV>; Coyle, Garrett (CIV) <gcoyle@CIV.USDOJ.GOV>; Wells, Carlotta (CIV)
<CWells@CIV.USDOJ.GOV>; Gardner, Joshua E (CIV) <jgardner@CIV.USDOJ.GOV>
Cc: DHo@aclu.org; Goldstein, Elena <Elena.Goldstein@ag.ny.gov>; Colangelo, Matthew
<Matthew.Colangelo@ag.ny.gov>; SBrannon@aclu.org; Gersch, David P. <David.Gersch@arnoldporter.com>
Subject: New York et al v. Department of Commerce et al., SDNY 18‐cv‐2921

Dear Counsel ‐‐

In light of the Defendants’ repeated representations to the public, Congress, and the courts (as recently as last Tuesday)
that "the Census Bureau needs to finalize the 2020 questionnaire by June of this year," and "changes to the paper
questionnaire after June of 2019 . . . would impair the Census Bureau's ability to timely administer the 2020 census," see
6/25/19 letter from Solicitor General to Scott Harris, we are writing to confirm that the Census Bureau finalized the
questionnaire over the weekend and that the final questionnaire does not include the citizenship question.

Please advise by 10 am tomorrow so that we can consider whether, if necessary, to seek further relief from the court.

Best,

John


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                      Case 1:18-cv-02921-JMF Document 610-3 Filed 07/03/19 Page 3 of 3
__________________
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